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                                   3                              UNITED STATES DISTRICT COURT

                                   4                          NORTHERN DISTRICT OF CALIFORNIA

                                   5                                       SAN JOSE DIVISION

                                   6
                                       JESUS LOPEZ-GUTIERREZ, et al.,
                                   7                                                     Case No. 5:17-cv-05822-BLF
                                                    Plaintiffs,
                                   8                                                     CASE MANAGEMENT ORDER
                                               v.
                                   9
                                       FOOTHILL PACKING, INC.,
                                  10
                                                    Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13         On December 21, 2017, the parties appeared before Judge Beth Labson Freeman for a Case

                                  14   Management Conference. The Court ORDERS as follows:

                                  15         (1)    The presumptive limits on discovery set forth in the Federal Rules of Civil

                                  16                Procedure shall apply to this case unless otherwise ordered by the Court.

                                  17         (2)    The deadline for joinder of any additional parties, or other amendments to the

                                  18                pleadings, is sixty days after entry of this order unless stated otherwise below.

                                  19         (3)    The deadline for the parties to meet, confer, and submit a stipulation and order

                                  20                setting all deadlines not set by the Court below, including discovery cut-offs and

                                  21                expert disclosure deadlines, is twenty-one days after entry of this order unless

                                  22                stated otherwise by the Court on the record at the Case Management Conference.

                                  23         (4)    All disputes with respect to disclosures or discovery are referred to the assigned

                                  24                Magistrate Judge.

                                  25         (5)    The parties shall participate in ADR, and they shall contact the ADR Unit within

                                  26                fourteen days after entry of this order to make the necessary arrangements.

                                  27         (6)    The parties shall comply with the Court’s standing orders, which are available on

                                  28                the Court’s website and in the Clerk’s Office.
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                                   1            IT IS FURTHER ORDERED that the following schedule and deadlines shall apply to this

                                   2   case:

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                                   4    EVENT                                          DATE OR DEADLINE
                                   5    Last Day to Amend Pleadings or Add Parties     60 Days from Date of this Order
                                   6    Last Day to Hear Dispositive Motions           12/03/2020 at 9:00 AM
                                   7    Final Pretrial Conference                      3/04/2021 at 1:30 PM
                                   8    Trial                                          4/05/2021 at 9:00 AM
                                   9

                                  10   Dated: December 22, 2017
                                  11

                                  12
Northern District of California
 United States District Court




                                  13                                                 ______________________________________
                                  14                                                 BETH LABSON FREEMAN
                                                                                     United States District Judge
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